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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                 Case No.: ____________________


 SHANE VILLARINO, an individual,
 LAURA J. JOHNSON, an individual,
 On behalf of themselves and all others similarly situated,

        Plaintiffs,                                     CLASS REPRESENTATION
 v.
 KENNETH JOEKEL, an individual;
 MARC PLOTKIN, an individual;
 PACESETTER PERSONNEL SERVICE, INC.,
 A Texas profit corporation;
 PACESETTER PERSONNEL SERVICE OF
 FLORIDA, INC., a Florida profit corporation;
 FLORIDA STAFFING SERVICE, INC.,
 A Florida profit corporation; and
 TAMPA SERVICE COMPANY, INC.,
  A Florida profit corporation, each d/b/a/ PACESETTER;
 PACESETTER PERSONNEL;
 PACESETTER PERSONNEL SERVICE;
 PACESETTER PERSONNEL SERVICES;
 PACESETTER PERSONNEL SERVICES, LLC;
 PPS; and/or FW SERVICES;

       Defendants.
 _____________________________________/

                                       NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendants Pacesetter Personnel

 Service, Inc., Pacesetter Personnel Service of Florida, Inc., Florida Staffing Service, Inc., and

 Tampa Service Company, Inc., (collectively, “Corporate Defendants”), submit this Notice of

 Removal of the state court action described below to this Court.

                                            BACKGROUND

         1.      Plaintiffs SHANE VILLARINO and LAURA JOHNSON, on behalf of themselves

 and all others similarly situated (“Plaintiffs”), instituted this action in the Seventeenth Judicial Circuit



                                        LEÓN COSGROVE JIMÉNEZ, LLP
       255 ALHAMBRA CIR. I 8 T H FLOOR I MIAMI, FL 33134 I T 305.740.1975 I WWW.LEONCOSGROVE.COM
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 Court in and for Broward County, Florida on March 23, 2023, as Case No. CACE-23-010725 against

 Corporate Defendants and individual defendants Kenneth Joekel and Marc Plotkin.

        2.        Corporate Defendants were served with the Summons and Complaint on or about

 April 27, 2023.

        3.        Removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        4.        No further proceedings have occurred in the Circuit Court of the Seventeenth

 Judicial Circuit in and for Broward County, Florida, as of the date of this filing, other than a Motion

 for Extension to respond to Plaintiffs’ Complaint, filed on May 17, 2023.

        5.        All pleadings served on Corporate Defendants or filed in this action at the time of

 removal are attached to this Notice of Removal in accordance with 28 U.S.C. § 1446(a). See

 Exhibit A.

        6.        This court has jurisdiction over this matter under 28 U.S.C. § 1332 (d) because this

 is a class action in which the amount in controversy exceeds $5,000,000 in aggregate and a

 Corporate Defendant is a citizen of a state different from any one Plaintiff.

                      CLASS ACTION WITH MINIMAL DIVERSITY
                    AND AMOUNT IN CONTROVERSY ABOVE $5,000,000

        7.        28 U.S.C. § 1441(a) provides, in relevant part, that any action over which this Court

 has original jurisdiction may be removed by the defendant to the appropriate district court of the

 United States. 28 U.S.C. § 1332(d) states that district courts shall have original jurisdiction over a

 class action where the amount in controversy exceeds $5,000,000 in aggregate and any member of

 a class of plaintiffs is a citizen of a State different from any defendant.

        8.        Here, Plaintiffs allege that they are citizens and residents of the State of Florida.

 (Compl., ¶ 6.)



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                                         LEÓN COSGROVE JIMÉNEZ, LLP
      255 ALHAMBRA CIR. I 8 T H   FLOOR I MIAMI, FL 33134 I T 305.740.1975 I WWW.LEONCOSGROVE.COM
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        9.      Corporate Defendant PACESETTER PERSONNEL SERVICE, INC., is a Texas

 profit corporation with its corporate base of operations located at 3203 West Alabama Street,

 Houston, Texas, 77098.

        10.     Corporate Defendant PACESETTER PERSONNEL SERVICE OF FLORIDA,

 INC., is a Texas profit corporation with its corporate base of operations ostensibly located at 3203

 West Alabama Street, Houston, Texas, 77098.

        11.     Corporate Defendant FLORIDA STAFFING SERVICE, INC., is a Florida profit

 corporation with its corporate base of operations ostensibly located at 3203 West Alabama Street,

 Houston, Texas, 77098.

        12.     Corporate Defendant TAMPA SERVICE COMPANY, INC., is a Florida profit

 corporation with its corporate base of operations ostensibly located at 3203 West Alabama Street,

 Houston, Texas, 77098.

        13.     Thus, for purposes of 28 U.S.C. § 1332(d), diversity of citizenship exists between

 Plaintiffs and Corporate Defendants.

                                     AMOUNT IN CONTROVERSY

        14.     Plaintiff’s Complaint alleges failure to provide bathroom facilities to Class

 members at a now-closed Commercial Boulevard labor hall between January 29, 2016, and the

 location’s closure in February 2021. (Compl., ¶ 70.) Plaintiffs allege that the class size exceeds

 3,800 individuals. Id. at ¶ 72. Plaintiffs allege that each violation results in consequential damages

 or penalties of $1,000, whichever is greater. Id. at ¶ 92. With only two violations per alleged class

 member, the amount in controversy easily exceeds $5,000,000. Because the sum of requested

 damages in a complaint constitutes the amount in controversy for jurisdiction purposes under 28

 U.S.C. § 1446(c)(2), the amount in controversy requirement of 28 U.S.C. § 1332(d) is satisfied.


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                                         LEÓN COSGROVE JIMÉNEZ, LLP
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                                         REMOVAL IS PROPER

        15.     As set forth above, this action is one over which the Court has jurisdiction, pursuant

 to 28 U.S.C. § 1332, based on the action being a class action with minimal diversity of citizenship

 and an amount in controversy over $5,000,000, and this action may be removed to this Court by

 Corporate Defendants pursuant to 28 U.S.C. §§ 1441 and 1446.

        16.     This case is being removed to the United States District Court for the Southern

 District of Florida because this district encompasses the state court from which this case is

 removed: The Seventeenth Judicial Circuit Court in and for Broward County, Florida. See 28

 U.S.C. § 89(c).

                                                 NOTICE

        17.     Written notice of the filing of this Notice of Removal will be provided to Plaintiffs,

 through their attorneys, pursuant to 28 U.S.C. § 1446(d). A copy of Corporate Defendant’s Notice

 to the Circuit Court of Filing Notice of Removal is attached as Exhibit B. A duplicate copy of this

 notice of removal will be filed with the Clerk of the Broward County Circuit Court, pursuant to 28

 U.S.C. § 1446(d).

        18.     By filing this Notice of Removal, Corporate Defendants do not waive any defenses,

 rights, or objections; nor do Corporate Defendants concede that the allegations in the Complaint

 state a valid claim under applicable law; nor do Corporate Defendants waive any defenses, rights,

 or objections by parties other than Corporate Defendants.

        WHEREFORE, Corporate Defendants remove the above-captioned case to the United

 States District Court for the Southern District of Florida.




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                                         LEÓN COSGROVE JIMÉNEZ, LLP
      255 ALHAMBRA CIR. I 8 T H   FLOOR I MIAMI, FL 33134 I T 305.740.1975 I WWW.LEONCOSGROVE.COM
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 Dated: May 26, 2023                                     Respectfully submitted,

                                                         By: Ronald J. Tomassi, Jr.
                                                         Derek E. León, Esq.
                                                          Florida Bar No. 625507
                                                         Ronald J. Tomassi, Jr.
                                                          Florida Bar No. 29751
                                                         Email: dleon@leoncosgrove.com
                                                         Email: rtomassi@leoncosgrove.com
                                                         LEÓN COSGROVE JIMÉNEZ, LLP
                                                         255 Alhambra Circle, 8th Floor
                                                         Miami, Florida 33134
                                                         Telephone: 305.740.1975
                                                         Counsel for Corporate Defendants




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                                         LEÓN COSGROVE JIMÉNEZ, LLP
      255 ALHAMBRA CIR. I 8 T H   FLOOR I MIAMI, FL 33134 I T 305.740.1975 I WWW.LEONCOSGROVE.COM
